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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.

ANDREW BOYLE, COLE GUFFEY,
JESSICA OWENS-NECKIEN, and
GLORY SILWEDEL, on behalf of themselves and all others similarly situated,

       Plaintiffs,

V.


NESTLE PURINA PETCARE CO. a Missouri Corporation,

       Defendant.

_______________________________________________________________________________

        CLASS ACTION COMPLAINT AND DEMAND FOR TRIAL BY JURY
_______________________________________________________________________________

                                         INTRODUCTION

        1.       Plaintiffs Andrew Boyle, Cole Guffey, Jessica Owen-Neckien, and Glory Silwedel,

 by and through their attorneys, Liddle Sheets P.C. and Fuicelli & Lee, P.C., bring this class action

 complaint against Defendant Nestle Purina Petcare Co. ("Defendant"), which owns and operates a

 pet food manufacturing facility located at 4555 York Street, Denver, CO 80216 (the "Facility").

        2.       Through its operation of the Facility, Defendant released, and continues to release,

 noxious odors that invade Plaintiffs’ properties, causing property damage through nuisance and

 negligence.

                                             PARTIES

        3.       At all times relevant hereto, Plaintiff Andrew Boyle has been a citizen of Colorado

 and has resided and intends to remain at 805 N. Gilpin Street, Denver Country, Denver, Colorado.

        4.       At all times relevant hereto, Plaintiff Cole Guffey has been a citizen of Colorado

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and has resided and intends to remain at 4410 Josephine Street, Denver County, Denver, Colorado.

          5.    At all times relevant hereto, Plaintiff Jessica Owens-Neckien has been a citizen of

Colorado and has resided and intends to remain at 2121 E. 48th Street, Apartment 447, Denver

County, Denver, Colorado.

          6.    At all times relevant hereto, Plaintiff Glory Silwedel has been a citizen of Colorado

and has resided and intends to remain at 4679 Vine Street, Denver County, Denver Colorado.

          7.    Defendant Nestle Purina Petcare Co. is a for-profit company incorporated in the

State of Missouri, with its principal place of business in Missouri. Defendant's corporate activities

are directed, controlled, and coordinated from its headquarters in Missouri.

          8.    Defendant's pet food manufacturing facility is located at 4555 York Street,

Denver, CO 80216.

          9.    Upon information and belief, Defendant, including its predecessors and agents,

constructed the Facility and exercised control and ownership over the Facility at all relevant times

hereto.

                                  JURISDICTION AND VENUE

          10.   This Court has jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(a). Jurisdiction is

proper because the amount in controversy exceeds $75,000, exclusive of interest and costs. Venue

is proper in this Court under 28 U.S.C. § 1391(b)(2), because a substantial portion of the events or

omissions giving rise to Plaintiffs’ claims took place in this District, and because much of the

property that is the subject of this action is situated in this District.

                                    GENERAL ALLEGATIONS

          11.   Defendant operates an industrial pet food manufacturing facility surrounded by

residential properties.

          12.   Plaintiffs reside within 1 mile of the Facility's property boundary.

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         13.    Plaintiffs' properties have been and continues to be physically invaded by noxious

odors.

         14.    The noxious odors which entered Plaintiffs' property originated from Defendant's

Facility.

                   Defendant's Industrial Pet Food Manufacturing Process

         15.    Defendant's industrial operations at the Facility include the production of pet food

products.

         16.    Upon information and belief, Defendant's pet food products include animal-derived

raw proteins and animal fats, many of which are highly odiferous.

         17.    Upon information and belief, Defendant mixes the raw ingredients according to

numerous pet food recipes, which are dried and formed into a dough.

         18.    Upon information and belief, the dough for each pet food product is then cooked

and extruded into its kibble shape.

         19.   Upon information and belief, the pet food products then undergo a drying process

prior to being packaged and sold.

         20.    Defendant's cooking process produces highly odiferous emissions.

                          Defendant's Noxious Fumes and Emissions

         21.    The emissions produced by Defendant's cooking process are noxious and highly

odiferous.

         22.    Defendant has acknowledged that the Facility is the source of the odors invading

Plaintiffs' property.

         23.    Despite Defendant’s representations, the odors caused by the Facility have been and

continue to be dispersed across all public and private land in the class area.

         24.    A properly designed, operated, and maintained pet food manufacturing Facility will

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adequately capture, remove, and dispose excess noxious emissions and will not emit noxious odors

into the ambient air as fugitive emissions.

        25.     Defendant is required to control its odorous emissions by, among other things,

operating and maintaining the Facility in a manner that adequately captures, controls, and mitigates

odorous emissions so as to prevent them from escaping into the ambient air surrounding the Facility

and implementing other reasonably available odor mitigation, elimination, and control systems at

the Facility.

        26.     Defendant has failed to install, maintain, operate, develop, and/or implement

adequate odor mitigating strategies, processes, technology, and equipment to control its odorous

emissions from the Facility and prevent those odors and emissions from invading the homes and

properties of Plaintiffs and the putative Class.

        27.     Defendant's failures to prevent noxious off-site odors include, but are not limited

to: operating and maintaining inadequate systems for operating and maintaining a pet food cooking

process that inadequately captures, controls, and/or mitigates odors; failing to adequately treat and

filter the exhaust produced through its industrial operations prior to emitting it into the ambient air;

failing to develop and/or implement an adequate odor prevention plan; and failing to utilize other

odor prevention, elimination, and mitigation measures and technology available to Defendant.

       Impacts of Defendant's Actions and Omissions on Plaintiffs and the Putative Class

        28.     The Facility and its odorous emissions have been the subject of frequent complaints

from residents in the nearby residential area.

        29.     Numerous residents have taken the time to file official complaints regarding the

Defendant’s noxious emissions with the Colorado Department of Health and Environment

(CDHE), including the following:

                a.     In a complaint lodged on January 31, 2023, the complainant reported that “at
                       least once a week. . .the smell is so strong it makes you gag.”
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               b.     In a complaint lodged on August 30, 2022, the complainant reported that
                      “Purina is releasing something so toxic that its making our eyes water over
                      a mile away. . .”

               c.     In a complaint lodged on June 7, 2022, the complainant reported that the
                      “smell from the Purina plant is making her sick.”

       30.      After investigating some of the above referenced complaints, CDHE employees
                made the following findings:

               a.    “Visited the area around the Valdez Library around 10:20 am on November
                      11, 2021. The pet food odor was very strong at the time of the visit. I recorded
                      two exceedances of the State Detection threshold for odors at 10:26am and
                      10:51am. Reported these findings back to the citizen and let him know we
                      will forward these odor exceedances to the State for enforcement of Reg 2
                      for odor.”

                b.    “Emailed [redacted] on 10/7 to follow up. I drove to the neighborhood on the
                      morning of 10/7 and observed a stronger than usual odor in the vicinity of
                      47th and Gaylord. The nasal ranger showed a State regulation exceedance of
                      the 8:1 threshold. This was documented. Brian Beyer from the plant met me
                      in the neighborhood; he also smelled it but his nose is not as sensitive to odor
                      due to years of working in the plant. The plant’s plasma systems were
                      supposedly operating normally at the time when I was north of the plaint;
                      however, I learned that the units are overdue for routine maintenance due to
                      US/Canada border closures from the COVID pandemic. The maintenance
                      company is Canadian and could not get here.”

       31.     Similarly, more than 50 households within the proposed Class Area have contacted

Plaintiffs' counsel documenting the odors they attribute to the Defendant's Facility.

       32.     Below is a small sampling of the factual allegations made by putative class

members to Plaintiffs' counsel, demonstrating that the Facility is the source and cause of the odor

emissions, which have damaged their neighboring properties.

               a.      Plaintiff Andrew Boyle stated that the smells from the Nestle Facility are
                       overwhelming and the smell bothers him at least 1-3 days per week, forcing
                       him to stay inside and run his AC to keep the smell out.

               b.      Plaintiff Cole Guffey stated that the odors are very offensive and he cannot
                       go outside on days when they are present because the odors make him
                       nauseous.

               c.      Plaintiff Jessica Owens-Neckien reported that she is unable to open her
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                     windows due to the odors and that the odors are so strong that they
                     occasionally wake her up at night.

              d.     Plaintiff Glory Silwedel stated that she is unable to use her gardens because
                     of the odors and has received complaints from tenants when she rents out a
                     studio apartment on her property. She is unable to host parties or gatherings
                     at her house because of the odors.

              e.     Putative class members Roxann McGrew and Boby Ward reported that
                     “[t]he offensive odors make you nauseous. Depending on how strong the
                     odor is it can take hours for the smell to get out of your home.”

              f.     Putative class members Robert Boughner and Kelly MacNeil reported “I
                     would describe the smell as rancid. It’s like someone barfed in your back
                     yard and then it baked in the sun and then you put a fan on the smell to keep
                     it circulating.”

              g.     Putative class member Juanita Chavez reported that “The smell causes
                     headaches and nausea, it gets in the house and can also smell clothes of the
                     smell of throw up.”

              h.     Putative class members Carlos Gente Zapata Dreena and Achell Elaine
                     Pack reported “We live in Viva Apartments (third floor) you open this
                     window at different times of the day and get a rancid smell coming from
                     Purina. Smell is so strong it gives you headaches, upsets your stomach.”

      33.   Defendant's well documented pattern of failing to control its emissions is further

 demonstrated by the following:

              a.     Numerous residents have filed complaints with CDHE directly attributing
                     noxious odors to Defendant's Facility.

              b.     On November 5, 2021, the CDHE issued a Notice of Violation (“NOV”) after
                     visiting Defendant’s facilities and observing odors beyond permit limits. The
                     NOV was issued because Defendant failed to ensure that emissions of
                     odorous air components remain at the permitted ratio.

              c.     On June 23, 2022, a Consent Order was entered in response to the November
                     5, 2021, NOV, in which Defendant agreed to comply with odor emissions
                     and the proposed Odor Control Plan.

              d.     In addition to the above, on October 14, 2021, the City of Denver issued a
                     Notice of Administrative Citation in which it fined the Defendant $12,000 for
                     repeated emissions of noxious odors.

              e.     On October 26, 2021, the City of Denver issued Defendant a Warning letter
                     based on an investigation performed on October 7, 2021 wherein strong odors
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                        were found and air sampling indicated odors in excess of the applicable
                        regulations.

               f.       In September 2024, the CDPHE fined Nestle $7,000 for emitting odorous
                        emissions that were detectible after clean air was diluted with sixteen
                        volumes of clean air to one volume of odorous air (16 D/T) on October 24,
                        2023. These measurements were more than double the regulatory threshold
                        for odorous emissions set by the AQCC Regulation 2 of 7 D/T.

               g.       There have been numerous media reports regarding Defendant's odors and
                        emissions.

       34.     Defendant's Facility has emitted, and continues to emit, objectionable odors that

are detectable outside the bounds of its property.

       35.     The Facility has emitted objectionable odors that have caused negative impacts to

its neighbors throughout the Class Area.

       36.     Plaintiffs and members of the putative class suffer serious discomfort because of

Defendant's noxious odors that interfere with their use and enjoyment of property.

       37.     The foul odors emitted from the Facility are offensive, would be offensive to a

reasonable person of ordinary health and sensibilities, and have caused property damage.

        38.    The invasion of Plaintiffs' property and that of the Class by noxious odors has

reduced the value of that property and has interfered with the use and enjoyment of that property,

resulting in damages.

        39.    The Class Area is home to a wide range of commercial and recreational activities,

including but not limited to manufacturing, construction, retail trade, ministry, education, dining,

and lodging.

       40.     Plaintiffs and the Class are a limited subset of individuals in Denver County, and the

Class Area, which includes only owner/occupants and renters of residential property who live

within the Class Area and fit within the Class Definition.

       41.     Members of the public, including but not limited to businesses, employees,

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commuters, tourists, visitors, customers, clients, and students, have experienced and been harmed

by the fugitive noxious odors emitted from the Facility into public spaces; however, unlike Plaintiffs

and the Class, members of the public who are outside of the Class Definition have not suffered

damages of the same kind, in the form of diminished property values and/or loss of use and

enjoyment of their private property.

         42.      Defendant negligently and knowingly failed to properly design, operate, repair,

and/or maintain the Facility and its associated operations, thereby causing the invasion of Plaintiffs'

property by noxious odors on unusually frequent, intermittent and ongoing reoccurring occasions.

                                     CLASS ALLEGATIONS

    A.         Definition of the Class

         43.      Plaintiffs bring this action individually and on behalf of all persons as the Court

may determine to be appropriate for class certification, pursuant to F.R.C.P. Rule 23. Plaintiffs seek

to represent a Class of persons preliminarily defined as:


         All owner/occupants and renters of residential property residing within one
         mile (1) of the Facility's property boundary.

The definitional boundary is subject to modification as discovery will disclose the location of all

persons properly included in the Class ("Class Members"). Excluded from the Class are Defendant

and its affiliates, predecessors, successors, officers, directors, agents, servants, or employees, and

the immediate family members of such persons. Plaintiffs reserve the right to propose one or more

sub-classes if discovery reveals that such subclasses are appropriate.


   B.          Numerosity

    42.         The approximate number of residential households withing the Class Area is over

2,000.


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     43.           The Class consists of thousands of members and therefore is so numerous that

joinder is impracticable.

    C.      Commonality


    44.          Numerous common questions of law and fact predominate over any individual

                 questions affecting Class Members, including, but not limited to the following:

                    a.      whether and how Defendant negligently and knowingly failed to design,
                            operate, and maintain the Facility and its operations;
                    b.      whether Defendant owed any duties to Plaintiffs;

                    c.      which duties Defendant owed to Plaintiffs;

                    d.      which steps Defendant has and has not taken in order to control the emission
                            of noxious odors through the design, operation, and maintenance of its
                            Facility and its respective operations;
                    e.      whether Defendant met its standard of care with respect to its operation,
                            design, and maintenance of the Facility and its operations;

                    f.      whether and to what extent the Facility's noxious odors were dispersed over
                            the Class Area;

                    g.      whether it was reasonably foreseeable that Defendant's failure to properly
                            design, operate, and maintain the Facility and its operations would result in
                            an invasion of Plaintiffs' property interests;

                    h.      whether the degree of harm suffered by Plaintiffs and the Class constitutes
                            a substantial annoyance or interference; and

                    1.      the proper measure of damages incurred by Plaintiffs and the Class.

    D.       Typicality

           45.      Plaintiffs have the same interests in this matter as all the other members of the Class

and their claims are typical of all members of the Class. If brought and prosecuted

individually, the claims of each Class Member would require proof of many of the same material

and substantive facts, utilize the same complex evidence including expert testimony, rely upon the

same legal theories and seek the same type of relief.

           46.      The claims of Plaintiffs and the other Class Members have a common cause, and
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their damages are of the same type. The claims originate from the same failure of the Defendant to

properly design, operate, and maintain the Facility and its operations.

          47.      All Class Members have suffered injury in fact as a result of the invasion of their

property by Defendant's release of noxious odors, causing damage in the form of losses to property

values.

   E.           Adequacy of Representation

          48.      Plaintiffs' claims are sufficiently aligned with the interests of the absent Class

Members to ensure that the Class’s claims will be prosecuted with diligence and care by Plaintiffs

as representative of the Class. Plaintiffs will fairly and adequately represent the interests of the

Class and do not have interests adverse to the Class.

          49.      Plaintiffs have retained the services of counsel who are experienced in complex

class action litigation and in particular class actions stemming from invasions of noxious industrial

emissions. Plaintiffs' counsel will vigorously prosecute this action and will otherwise protect and

fairly and adequately represent Plaintiffs and all absent Class Members.

   F.           Class Treatment Is a Fair and Efficient Method of Adjudication

          50.      A class action is a fair and efficient method of adjudication of the controversies

raised in this Complaint because:

                   a.     Individual claims by the Class Members would be impracticable as the costs
                          of pursuit would far exceed what any one Class Member has at stake;

                   b.     Individual claims by class members would create a risk of inconsistent or
                          varying adjudications with respect to individual members of the class that
                          would present Defendant with incompatible standards of conduct;

                   c.     Individual claims by individual members of the class would create a risk of
                          adjudications which would as a practical matter be dispositive of the
                          interests of other members not parties to the adjudications or substantially
                          impair or impede their ability to protect their interests;
                   d.     Little or no individual litigation has been commenced over the controversies
                          alleged in this Complaint and individual Class Members are unlikely to have
                          an interest in separately prosecuting and controlling individual actions;
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                 e.      In view of the complexity of the issues or the expenses of litigation, the
                         separate claims of individual members are likely insufficient in amount to
                         support the costs of filing and litigating separate actions;

                 f.      Plaintiffs seek equitable relief relating to Defendant's common actions and
                         failures to act, and the equitable relief sought would commonly benefit the
                         class as a whole;

                 g.      The concentration of litigation of these claims in one action will achieve
                         efficiency and promote judicial economy; and

                 h.      The proposed class action is manageable.

         51.     The prosecution of separate actions by or against individual members of the Class

 would create the risk of (i) inconsistent or varying adjudications with respect to individual

 members of the Class, which could establish incompatible standards of conduct for the party

 opposing the Class; and (ii) adjudications with respect to individual members of the Class which

 would as a practical matter be dispositive of the interests of the other members not parties to the

 adjudications or substantially impair or impede their ability to protect their interests.

         52.     Notice can be provided to members of the Class by U.S. Mail and/or publication.

                                    I. CAUSE OF ACTION ONE
                                           NUISANCE

       53.     Plaintiffs restate allegations 1 through 52 of this Complaint as if fully rewritten herein.

       54.     The noxious odors, which entered the properties of Plaintiffs and the putative class

originated from the facility constructed, maintained and operated by Defendant.

       55.     The noxious odors invading the property of Plaintiffs and the putative class are

substantial, indecent and offensive to the senses, and obstruct the free use of their property so as to

substantially and unreasonably interfere with the comfortable enjoyment of life and property.

       56.     Defendant owed and continues to owe a duty to Plaintiffs to prevent and abate the

interference with the invasion of the private interests of the Plaintiffs.

       57.     By constructing and then failing to reasonably repair and maintain its facility,
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Defendant has intentionally and negligently caused an unreasonable and substantial invasion of

Plaintiffs' interest in the use and enjoyment of their property.

        58.     As a foreseeable, direct and proximate result of the foregoing conduct of Defendant,

Plaintiffs suffered injuries and damages to their properties as alleged herein.

        59.     Plaintiffs did not consent to the invasion of their properties by noxious odors.

        60.     By causing noxious odors produced and controlled by Defendant to physically invade

Plaintiffs' land and property, Defendant intentionally, recklessly, and negligently created a nuisance

which substantially and unreasonably interfered with Plaintiffs' use and enjoyment of their property.

        61.     Whatever social utility Defendant’s facility provides is clearly outweighed by the harm

suffered by the Plaintiffs and the putative class, who have on frequent occasions been deprived of the

full use and enjoyment of their properties and have been forced to endure substantial loss in the value

of their properties.

        62.     Defendant’s substantial and unreasonable interference with Plaintiffs' use and

enjoyment of their properties constitutes a nuisance for which Defendant is liable to Plaintiffs for all

damages arising from such nuisance, including compensatory and injunctive relief not inconsistent

with Defendant's State and Federally enforced Air Permits.

                                    II. CAUSE OF ACTION TWO
                                          NEGLIGENCE

        63.     Plaintiffs restate allegations 1 through 62 of this Complaint as if fully rewritten herein.

        64.     Defendant negligently and improperly constructed, maintained and operated the

facility such that it caused the invasion of noxious odors onto Plaintiffs’ homes, land, and property

on occasions too numerous to mention.

        65.     As a direct and proximate result of Defendant’s negligence in constructing,

maintaining and operating the facility, Plaintiff's property, on occasions too numerous to mention,

was invaded by noxious odors.
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       66.       As a further direct and proximate result of the foregoing conduct of the Defendant,

Plaintiffs suffered damages to their property as alleged herein.

       67.       The invasion and subsequent damages suffered by Plaintiffs were reasonably

foreseeable by the Defendant.

       68.       By failing to properly construct, maintain and operate its facility, Defendant failed to

exercise the duty of ordinary care and diligence, which it owes to Plaintiffs, so that noxious odors

would not invade Plaintiff's property.

       69.       A properly constructed, operated, and maintained facility will not emit noxious odors

into neighboring residential areas.

       70.       By failing to properly construct, maintain and operate its facility, Defendant has

intentionally caused the invasion of the property of Plaintiffs and the putative class by noxious odors.

Such failures include, but are not limited to the failure to maintain and/or install adequate odor

controls.

       71.       Defendant knowingly breached its duty to exercise ordinary care and diligence when

it improperly constructed, maintained and operated the facility and knew, or should have known upon

reasonable inspection that such actions would cause the property of Plaintiffs and the putative class

to be invaded by noxious odors.

       72.       As a direct and proximate result of the failure of Defendant to exercise ordinary care,

Plaintiffs’ homes were invaded by noxious odors causing and constituting damage to their property.

                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, individually and on behalf of the proposed Class, pray for

 judgment as follows:

            A.    Certification of the proposed Class by order pursuant to F .R.C.P. 23;

            B.    Designation of Plaintiffs as representatives of the proposed Class and designation

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 of their counsel as Class Counsel;

        C.      Judgment in favor of Plaintiffs and the Class Members and against Defendant;

        D.      Award Plaintiffs and the Class members compensatory damages and attorneys’ fees

 and costs, including pre-judgment and post-judgment interest thereupon;

        E.      An Order holding that entrance of the aforementioned noxious odors upon

 Plaintiffs' property constituted a nuisance;

        F.      An award to Plaintiffs and the Class Members of injunctive relief not inconsistent

 with Defendant's state and federal regulatory obligations; and

        G.      Such further relief as the Court deems just and proper.


Dated: June 4, 2025

                                                                   LIDDLE SHEETS P.C.

                                                                   s/D. Reed Solt
                                                                   Steven D. Liddle
                                                                   Laura L. Sheets
                                                                   D. Reed Solt
                                                                   Liddle Sheets PC
                                                                   975 E. Jefferson Ave
                                                                   Detroit, MI 48207
                                                                   (313) 392-0015
                                                                   sliddle@lsccounsel.com
                                                                   lsheets@lsccounsel.com
                                                                   rsolt@lscounsel.com

                                                                   s/R. Keith Fuicelli
                                                                   R. Keith Fuicelli, #32108
                                                                   Amanda C. Francis, #45101
                                                                   FUICELLI & LEE, P.C.
                                                                   1731 Gilpin Street
                                                                   Denver, Colorado 80218
                                                                    (303) 355-7202
                                                                    (303) 355-7208
                                                                   keith@coloradoinjurylaw.com
                                                                   afrancis@coloradoinjurylaw.com
                                                                   Attorneys for Plaintiffs


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                 PLAINTIFFS DEMAND TRIAL BY JURY ON ALL ISSUES

                                     DEMAND FOR RELIEF

       WHEREFORE, Plaintiffs requests that this Court enter judgment in favor of Plaintiffs and

against Defendant Nestle Purina Petcare Co. as follows: (a) Certification of the proposed Class

pursuant to F.R.C.P. Rule 23; (b) Designation of Plaintiffs as representative of the proposed Class

and designation of her counsel as Class Counsel; (c) Judgment in favor of Plaintiff and the Class

members and against Defendant; (d) Award Plaintiffs and the Class members compensatory damages,

and attorneys’ fees and costs, including pre-judgment and post-judgment interest thereupon; and (e)

Such further relief as the Court deems just and proper.


DATED this 4th day of June 2025.

                                                                LIDDLE SHEETS P.C.

                                                                s/D. Reed Solt
                                                                Steven D. Liddle
                                                                Laura L. Sheets
                                                                D. Reed Solt
                                                                Liddle Sheets PC
                                                                975 E. Jefferson Ave
                                                                Detroit, MI 48207
                                                                (313) 392-0015
                                                                sliddle@lsccounsel.com
                                                                lsheets@lsccounsel.com
                                                                rsolt@lscounsel.com

                                                                s/R. Keith Fuicelli
                                                                R. Keith Fuicelli, #32108
                                                                Amanda C. Francis, #45101
                                                                FUICELLI & LEE, P.C.
                                                                1731 Gilpin Street
                                                                Denver, Colorado 80218
                                                                 (303) 355-7202
                                                                 (303) 355-7208
                                                                keith@coloradoinjurylaw.com
                                                                afrancis@coloradoinjurylaw.com
                                                                Attorneys for Plaintiffs


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